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Susan Canterbury

From: Susan Canterbury

Seni: Thursday, March 06, 2014 10:44 AlM
To: —s‘cynthiaparker@coamhs.com’
Subject: RE: Kyle Schwark

Yes, with what little | know, he was in major hallucinations, was Standing and they said he tiped over like a falling
tree, but | spent a good deal of time with him and his gaze/focus never actually seem directed st us/me- like he
was looking and seeing things past and around us You would not have been able fo do anything with hirn in that
state so | finally got him to take one of his ER xanax, he crunched it ike 4 piece of candy, chewed it up- doesn’t
that increase the immediate effect? This behavior started about 8:00 am, the night before was the first time in the
taper he didn't get pm xanax, and hadn't rec'd arn yet. it

Accelerated by 1:00 to total hallucination, agitation. It was a long time before | was able to convince him to take a
xanax. By 5:00 you could talk to him but he was still had one foot in another world. | am giving him his xanax bid,
we will have to play it by ear, to see if this gets him to a point where he can even talk to you. Is there something
we Can Start for hallucinations.? Susan. He is so paranoid that getting him to take something else may or may
not happen. susan

From: cynthiaparker@coamhs.com [mailto:cynthiaparker@coamhs.com]
Sent: Wednesday, March 05, 2014 5:20 pM

To: Susan Canterbury

Subject: RE: Kyle Schwark

That sounds more like psychosis than seizure activity. Slowing the taper is fine, but perhaps he
needs to have medications for hallucinations. If you want me to see him tomorrow as an
emergency patient, I can try to see him at 3PM on Thursday. Let me know if that works.

Cynthia E. Parker, PsyD,LP,RXN-P,NP,APMHNP-BC,GNP-BC,MBA

Adult Mental Health Sarvices LLC

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Frisco, CO 80443

Phone: 970-393-2526

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Email: CynthiaParker@coamhs.com

SKYPE name: drcynthiaparker

Website for ONLINE INQUIRY or PAYMENT for Appointments - AMHS, LLC

femme Original Message ----~----

Subject: Kyle Schwark

From: Susan Canterbury <scanterbu arkco.us>

Date: Wed, March 05, 2014 2:29 pm

To: “eynthiaparker@coamhs.com™ <cynthiaparker@coamhs.com>

We were tapering the xanax 1 mg ER on Kyle but | think we need to greatly slow the taper, or may wind
up just giving it to him, as least longer than we thought. Tues night was the first time to not get it at
night, so just one yesterday. This 8 am he was starting to activate. Hallucinations have accelerate,
highly activated, everyone has a gun to his head. Took foraver to get him to take his 1 mag ER at 1:00
ish. His gaze does not focus on persons in roorn, appeared to have a seizure, spit all over his face,
repetitive speech about the government wanting to kill him, definitely not of this world, gave the captain
a reality check. | feel we need a new much slower taper program, thanks—-asap He acts scared and
hallucinating but does not offer to be aggressive, but very activated. susan

 

EXHIBIT

3/7/2014 Schwark.Park000033

 
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Susan Canterbury

From: Susan Canterbury tes & phew
pe (2 MH

Sent; Thursday, March 06, 2014 2:04 PM

tf
Ta: ‘eynthiaparker@coamhs.com’ ‘ a

  
   
 

 

    

 

   

(78 {Returning to BID xanax 1 mg ER has Kyle Schwark more coherent and he is trying to figure out what
eee d yccterdny Yes major hallucinations is his problem when off his addiction. Is Seboxen a drug you can
just take someone off of without dastardly consequences? tam working to get him coherent and cooperative
enough fo fill out the packet. He is convinced that his Dr Singer is God and his medications are what keep him on
< an
Z. [e- “even keel” He will be a hard nut to crack and | personally feel 50 days here isn't going to do anything so long as
Dr Singer is his advisor, He desparately needs long term inpatient treatment. He admits that he has been
inpatient before. Think [ will try to find out more about that and try fo get records. Enjoy your Goff game? what
do you think about a little short acting xanax midday until we can get him functioning better, to talk to you, or am}
bothering myself with him too much. susan

@ lw fro 4 BLOF

3/6/2014 Schwark.Park000034
